Case 21-00022-dd   Doc 11   Filed 01/12/21 Entered 01/12/21 12:35:24   Desc Main
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           CaseCO.
                21-00022-dd
                    FILE   DEPT. Doc  11VCHR.Filed
                                  CLOCK        NO. 01/12/21
                                                   032       Entered 01/12/21 12:35:24 Desc Main
               EYT  001343 300662           Document
                                        0000480026    1    Page 2Earnings
                                                                  of 5        Statement
               COMMANDER          NURSING       CENTER                            Period Beginning:       11/08/2020
               4438 PAMPLICO         HWY                                          Period Ending:          11/21/2020
               FLORENCE,        SC 29505                                          Pay Date:               11/25/2020



               Taxable Marital Status:      Single                                    ANNETTE N FLEMMING
               Exemptions/Allowances:                                                 524 MEDFORD LN
                 Federal:           1
                 SC:                1
                                                                                      FLORENCE SC 29505



                        rate        hours            this period   year to date
Regular          13 0000           77 60             1 008 80       22 811   23   BASIS OF PAY: HOURLY
Overtime         19 5000            5 13               100 04          908   73
TEMP 19                                                154 71        2 284   19
Pto                                                                  1 347   45
              Gross Pay                          $1 263 55          27 499   41


              Statutory
              Federal Income Tax                        -99   60      2 028 74
              Social Security Tax                       -74   70      1 617 56
              Medicare Tax                              -17   47        378 30
              SC State Income Tax                       -52   59      1 072 55


              Insurance-Pretx                           -56 82*       1 363 68
              Life Insur-Prtx                            -1 92*          46 08
              VISION                                     -4 15           99 60

              Net Pay                                 $956 30
              Checking 1                              -956 30

              Net Check                                  $0 00


                Excluded from federal taxable wages

                Your federal taxable wages this period are
                $1 204 81




                                                                                                                              2000 A DP, LLC




               COMMANDER NURSING CENTER                                           Advice number:                00000480026
               4438 PAMPLICO HWY                                                  Pay date:                     11/25/2020
               FLORENCE SC 29505



               Deposited       to the account of                                  account number      transit    ABA               amount
               ANNETTE         N FLEMMING                                         xxxxxxxx4799        xxxx xxxx                   $956 30




                                                                                            NON-NEGOTIABLE
           CaseCO.
                21-00022-dd
                    FILE   DEPT. Doc  11VCHR.Filed
                                  CLOCK        NO. 01/12/21
                                                   032       Entered 01/12/21 12:35:24 Desc Main
               EYT  001343 300662           Document
                                        0000500020    1    Page 3Earnings
                                                                  of 5        Statement
               COMMANDER          NURSING       CENTER                            Period Beginning:       11/22/2020
               4438 PAMPLICO         HWY                                          Period Ending:          12/05/2020
               FLORENCE,        SC 29505                                          Pay Date:               12/10/2020



               Taxable Marital Status:      Single                                    ANNETTE N FLEMMING
               Exemptions/Allowances:                                                 524 MEDFORD LN
                 Federal:           1
                 SC:                1
                                                                                      FLORENCE SC 29505



                        rate        hours            this period   year to date
Regular          13 0000           74 65                970 45      23 781 68     BASIS OF PAY: HOURLY
TEMP 19                                                 139 60       2 423 79
Overtime                                                               908 73
Pto                                                                  1 347 45
              Gross Pay                          $1 110 05          28 609 46


              Statutory
              Federal Income Tax                        -81   18      2 109 92
              Social Security Tax                       -65   18      1 682 74
              Medicare Tax                              -15   24        393 54
              SC State Income Tax                       -42   92      1 115 47


              Insurance-Pretx                           -56 82*       1 420 50
              Life Insur-Prtx                            -1 92*          48 00
              VISION                                     -4 15          103 75

              Net Pay                                 $842 64
              Checking 1                              -842 64

              Net Check                                  $0 00


                Excluded from federal taxable wages

                Your federal taxable wages this period are
                $1 051 31




                                                                                                                              2000 A DP, LLC




               COMMANDER NURSING CENTER                                           Advice number:                00000500020
               4438 PAMPLICO HWY                                                  Pay date:                     12/10/2020
               FLORENCE SC 29505



               Deposited       to the account of                                  account number      transit    ABA               amount
               ANNETTE         N FLEMMING                                         xxxxxxxx4799        xxxx xxxx                   $842 64




                                                                                            NON-NEGOTIABLE
           CaseCO.
                21-00022-dd
                    FILE   DEPT. Doc  11VCHR.Filed
                                  CLOCK        NO. 01/12/21
                                                   032       Entered 01/12/21 12:35:24 Desc Main
               EYT  001343 300662           Document
                                        0000520020    1    Page 4Earnings
                                                                  of 5        Statement
               COMMANDER          NURSING       CENTER                            Period Beginning:       12/06/2020
               4438 PAMPLICO         HWY                                          Period Ending:          12/19/2020
               FLORENCE,        SC 29505                                          Pay Date:               12/24/2020



               Taxable Marital Status:      Single                                    ANNETTE N FLEMMING
               Exemptions/Allowances:                                                 524 MEDFORD LN
                 Federal:           1
                 SC:                1
                                                                                      FLORENCE SC 29505



                        rate        hours            this period   year to date
Regular          13 0000           80 00             1 040   00     24 821 68     BASIS OF PAY: HOURLY
Overtime         19 5000            8 48               165   36      1 074 09
Bonus                                                  884   80        884 80
TEMP 19                                                165   46      2 589 25
Pto                                                                  1 347 45
              Gross Pay                          $2 255 62          30 865 08


              Statutory
              Federal Income Tax                      -252   86       2 362 78
              Social Security Tax                     -136   21       1 818 95
              Medicare Tax                             -31   86         425 40
              SC State Income Tax                     -120   19       1 235 66


              Insurance-Pretx                           -56 82*       1 477 32
              Life Insur-Prtx                            -1 92*          49 92
              VISION                                     -4 15          107 90

              Net Pay                            $1 651 61
              Checking 1                         -1 651 61

              Net Check                                  $0 00


                Excluded from federal taxable wages

                Your federal taxable wages this period are
                $2 196 88



                                                                                                                              2000 A DP, LLC




               COMMANDER NURSING CENTER                                           Advice number:                00000520020
               4438 PAMPLICO HWY                                                  Pay date:                     12/24/2020
               FLORENCE SC 29505



               Deposited       to the account of                                  account number      transit    ABA               amount
               ANNETTE         N FLEMMING                                         xxxxxxxx4799        xxxx xxxx               $1 651 61




                                                                                            NON-NEGOTIABLE
           CaseCO.
                21-00022-dd
                    FILE   DEPT. Doc  11VCHR.Filed
                                  CLOCK        NO. 01/12/21
                                                   032       Entered 01/12/21 12:35:24 Desc Main
               EYT  001343 300662           Document
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                                                                  of 5        Statement
                  COMMANDER          NURSING       CENTER                             Period Beginning:       12/20/2020
                  4438 PAMPLICO         HWY                                           Period Ending:          01/02/2021
                  FLORENCE,        SC 29505                                           Pay Date:               01/07/2021



                  Taxable Marital Status:      Single                                     ANNETTE N FLEMMING
                  Exemptions/Allowances:                                                  524 MEDFORD LN
                    Federal:           1
                    SC:                1
                                                                                          FLORENCE SC 29505



                           rate        hours            this period   year to date
Regular             13 0000           69 83            907      79         907   79   BASIS OF PAY: HOURLY
Overtime            19 5000           11 07            215      87         215   87
Bonus                                                  943      80         943   80
TEMP 19                                                151      28         151   28
Worked Holiday      13 0000           13 48            262      86
                 Gross Pay                          $2 481      60       2 481 60


                 Statutory
                 Federal Income Tax                      -299   70         299   70
                 Social Security Tax                     -150   22         150   22
                 Medicare Tax                             -35   13          35   13
                 SC State Income Tax                     -133   31         133   31


                 Insurance-Pretx                           -56 82*          56 82
                 Life Insur-Prtx                            -1 92*           1 92
                 VISION                                     -4 15            4 15

                 Net Pay                            $1 800 35
                 Checking 1                         -1 800 35

                 Net Check                                  $0 00


                   Excluded from federal taxable wages

                   Your federal taxable wages this period are
                   $2 422 86



                                                                                                                                  2000 A DP, LLC




                  COMMANDER NURSING CENTER                                            Advice number:                00000010019
                  4438 PAMPLICO HWY                                                   Pay date:                     01/07/2021
                  FLORENCE SC 29505



                  Deposited       to the account of                                   account number      transit    ABA               amount
                  ANNETTE         N FLEMMING                                          xxxxxxxx4799        xxxx xxxx               $1 800 35




                                                                                                NON-NEGOTIABLE
